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ease 2:95-cr-zozsz-Mlmsmsmmsaiam@P/szegqpage 1 of 2 Pagelt) 106

 

for F"'Eo BY ui/°..;_/.. D.C.
WESTERN DISTRICT 0F TENNESSEE 95 SEP -2 PH 5= 20
WM GOULD
U. S. A. vs. James Donald Robinson, Jr. Docket No. 2:95CR20252M/DL § y `E§W§IH_HC§[HT

Petition on Probation and Supervised Release

COMES NOW Brenda L. Cg.gt§n PROBATION OFFICER OF 'I'HE COURT presenting an official
report upon the conduct and attitude of James Donald Robinson Jr. who was placed on supervision by the
Honorable Jon Phipps MgCalla sitting in the Court at Memphis, TN on the 25th day of November 1996, who
fixed the period of supervision at three (3) years* , and imposed the general terms and conditions theretofore
adopted by the Court and also imposed Special Conditions and terms as follows:

 

 

 

1. The defendant shall submit to alcohol abuse counseling and treatment as directed by the Probation Offlce.
. The defendant shall seek and maintain employment
3.. The defendant shall pay restitution in the amount of $286,875.00 (Balance: $282,533.64).

* Supervised Release begin on November 29, 2002.
(To be served concurrent with Supervised Release imposed in 2196CR20161)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

James Donald Robinson, Jr., has made payments ranging from $25.00 to $300.00 on a fairly consistent basis. It
is felt that he has paid to the best of his ability. He has paid a total of $4,341 .36. Mr. Robinson signed a Payment
Agreement with the United States Attorney’ s Office wherein he has agreed to continue paying One Hundred Dollars
($100.00) per month until his restitution balance is paid in full.

PRAYING THAT THE COURT WILL ORDER that Mr. Robinson’s supervision be allowed to terminate as
scheduled on November 28, 2005, with the understanding that the United States Attomey’s Oftice will be
responsible for the continued collection of restitution.

 

 

ORDER OF COURT Respeetfully,
Considered and ordered this 2 ______day 7§ /'-M\»é¢,' C °""Fm"
of ,§gg_, ZOQS and ordered filed Brenda L. Carpten
and made a part of the records m the above United States Probation Ofi'lcer
Mmc MQ Place: Memphis, T§nnessee
States District Judge Date: August 19. 2005

 

This document entered on the docketsheet in compliance '
with auto ss amstar sz(b) FcmrP on 'Lv 135 3/'§/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 314 in
case 2:95-CR-20252 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Cam Towers J ones

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

